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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Criminal Case No. 10-cr-00129-REB-2

UNITED STATES OF AMERICA,

       Plaintiff,

v.

2.     JAMES DUCKETT,

       Defendant.



                GOVERNMENT’S MOTION REGARDING ACCEPTANCE
                            OF RESPONSIBILITY


       The United States of America, by and through John F. Walsh, United States

Attorney for the District of Colorado and the undersigned Assistant United States

Attorneys, asks this Court to award a three level reduction in the base offense level

pursuant to United States Sentencing Guideline §3E1.1(a) and (b) based on the

defendant’s acceptance of responsibility. As grounds therefore, the government states:

       The Defendant has assisted authorities in the prosecution of his own misconduct

by notifying authorities of his intention to enter a plea of guilty, thereby permitting the

government to avoid preparing for trial and permitting the government and the Court to

allocate their resources efficiently.
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       Based on the foregoing information, the United States respectfully requests the

Defendant receive a total reduction of three levels in his base offense level for acceptance

of responsibility pursuant to §3E1.1(a) and (b) of the United States Sentencing Guidelines.

       Dated this 26th day of April, 2012.

                                          Respectfully submitted,

                                          JOHN F. WALSH
                                          United States Attorney

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                              CERTIFICATE OF SERVICE

       I certify that on this 26th day of April, 2012, I electronically filed the foregoing
GOVERNMENT’S MOTION REGARDING ACCEPTANCE OF RESPONSIBILITY with the
Clerk of the Court using the CM/ECF system which will send notification to the following
e-mail addresses:


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